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                                                                          1.
                  IN THE UNITED STATES DISTRICT COURfZEC
                  FOR THE MIDDLE DISTRICT OF ALABAMA
                           NORTHERN DIVISION       /(0;'
                                                      m), Wc3 —2               3:12


IN RE: OHIO EXECUTION                 Misc. Case No.
PROTOCOL LITIGATION                          6C.19-rn -3&11114111-S -
                                      JUDGE
 This document relates to:
 PLAINTIFF CLEVELAND                  DEATH PENALTY CASE:
 JACKSON
                                      EXECUTION SCHEDULED FOR
                                      NOVEMBER 13, 201.9

                                      Expedited consideration requested


 Plaintiff Cleveland Jackson's Motion to Compel Production of Documents
                in Response to Subpoena Issued to Non-Party
                the Alabama Department of Forensic Sciences



      Plaintiff Cleveland Jackson respectfully seeks an order from this Court to

compel production and compliance with each of three subpoenas served under

Federal Rule of Civil Procedure 45 on non-party the Alabama Department of

Forensic Sciences ("The Departmene). He also respectfully seeks this Court's

expedited consideration and decision on this motion, in light of his impending

injunctive relief proceedings and looming execution date.

      Mr. Jackson served the Rule 45 subpoenas, issued pursuant to Rule

45(a)(2) by the United States District Court for the Southern District of Ohio in

Case No. 2:11-cv-1016, In re Ohio Execution Protocol Litigation, on The

Department. In those subpoenas, Mr. Jackson sought certified (and thus self-

authenticating) copies of documents and information related to autopsies

conducted on three men executed by the State of Alabama in 2019. Such
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information is highly relevant to matters in injunctive-relief litigation in

advance of Mr. Jackson's scheduled execution date of November 13, 2019.

Service of subpoenas was completed on May 29, 2019 ("Subpoena 1," attached

as Exhibit 1); June 6, 2019 ("Subpoena 2," attached as Exhibit 2); and July 3,

2019 ("Subpoena 3," attached as Exhibit 3).

      To date, however, The Department has not responded in any way to the

latter two subpoenas. And it responded to the first subpoena by letter, first by

letter dated June 4, 2019 (attached Exhibit 4), and then by letter dated June

11, 2019 (attached Exhibit 5), refusing to produce responsive materials. Those

letters were not addressed or served directly on Mr. Jackson's counsel. The

Department stated that the documents in question would not be produced

because they relate to a purportedly ongoing criminal investigation and thus

are not subject to release as public records under Alabama's public

records law.

      But Mr. Jackson did not seek the documents via an open records

request; he sought them via a properly served and valid Rule 45 subpoena from

the United States District Court for the Southern District of Ohio. This Court

is the federal court for the district where compliance was required. See Fed. R.

Civ. P. 45(d)(2)(B)(i). As such, Mr. Jackson now respectfully seeks an order

from this Court to compel production and compliance with the Subpoenas.

      Additionally, the undersigned counsel hereby certifies that multiple good

faith attempts have been made to obtain a non-judicial resolution to this

matter. Since receiving the first non-responsive letter from The Departrnent on



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or about June 24, 2019, counsel made several phone calls to the phone

number for the Alabama Department of Forensic Sciences Legal Counsel

Division, provided in that letter. Each time, counsel explained the subpoena

requests, explained that the requests were being made pursuant to a federal

court subpoena, not an open records request under Alabama state law, and

that time was of the essence in light of the impending execution date and

injunctive relief litigation schedule. Each time, counsel was assured that,

although counsel from the Legal Counsel Division was not presently in the

office, he would be in touch by phone promptly. No phone call was received

until July 29, 2019.

      Additionally, undersigned counsel emthled The Department's counsel on

June 24, 2019, explaining the circumstances at length and requesting a

response and The Department's compliance with the subpoenas. (See attached

Exhibit 6.) Counsel received no response to that email.

      Counsel further sent another email to The Department's counsel on July

29, 2019, stating his intent to immediately file a motion to compel unless a

non-judicial resolution could be reached. (See attached Exhibit 7.) Later that

afternoon, counsel for The Department called the undersigned to discuss the

matter. Ultimately no resolution could be reached; counsel for The Department

related that he was bound by policy to follow the orders frorn the District

Attorney for Escambia County on whether to release the requested documents,

and that Escambia County District Attorney Stephen M. Billy had instructed

that the execution cases remained under criminal investigation. The



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undersigned then called Mr. Billy's office during the afternoon of July 29, 2019,

in an effort to discuss any possibility of a non-judicial resolution. That effort,

too, was unsuccessful. The undersigned was informed that Mr. Billy simply

does not release the execution autopsy-related documents until after the

"investigation" into each execution concludes, following presentment of each

case as a homicide to the grand jury.

      Consequently, Mr. Jackson is left with no choice but to respectfully

request that this Court uphold the Rules and respect for the federal courts by

ordering compliance with the Subpoenas, compelling the production of

documents they request. The legal and factual grounds for this Motion are set

forth in the accompanying Memorandurn in Support.

                                  Respectfully submitted,

                                  Deborah L. Williams
                                  Federal Public Defender

                                       by



                                  /s/ Allen L. Bohnert            a IP-61
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       Attorney Bohnert is already registered with the Middle District of
Alabama's CM/ECF system and has electronic filing privileges.


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                            Memorandum In Support

I.    Introduction

       Before this Court are the following issues:

             Whether The Department's single, boilerplate objection to
             Subpoena 1 invoking state public records law permits The
             Department to refuse compliance with a validly served Rule 45
             subpoena issued by a federal district court in federal-question
             litigation?

      (b)    Whether this Court should compel The Department to produce all
             documents responsive to Subpoena 2 and Subpoena 3 that
             presented targeted document requests, when The Department has
             failed to either serve timely written objections or file a motion to
             quash, thereby waiving any objections to the Subpoenas?

II.    Factual Background

       Cleveland Jackson is a death row inmate scheduled for execution in Ohio

on November 13, 2019. Ohio intends to execute Mr. Jackson using peripheral

IV injection of three drugs that, Jackson believes, are similar if not identical to

Alabama's lethal injection protocol: First, 500 mg of midazolarn, a sedative;

second, a paralytic drug; and third, a fatal dose of potassium chloride.

       Mr. Jackson is a Plaintiff in the long-running litigation over Ohio's lethal

injection manner and methods of execution identified above. He has filed a

motion for a stay of execution, a preliminary injunction, and an evidentiary

hearing in that case. (S.D. Ohio ECF No. 2242.)2 In that motion he argues, in

relevant part, that Ohio's three-drug lethal injection protocol creates a sure or



      2 To avoid any confusion about docket references, Jackson will cite to
"S.D. Ohio ECF No. x" for all filings on the Southern District of Ohio's ECF
docket, and cite to "ECF No. x" for all filings on this Court's docket in the
above-captioned case.


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very likely risk that he will be subjected to severe pain and needless suffering

due to the effects of the drugs, dosages, and administration method involved.

See Baze v. Rees, 553 U.S. 35 (2008); see also Glossip v. Gross, 134 S. Ct. 2726

(2015); Bucklew v. Precythe, 139 S. Ct. 1112 (2019). The controlling

scheduling order provides that, if the presiding court grants an evidentiary

hearing on M . Jackson's motion, that hearing will be held September 24-25,

2019, in Dayton, Ohio. (See Ohio ECF No. 2206 (courtesy copy attached as

Exhibit 8).)3 The deadline for submitting expert reports—for which Mr.

Jackson needed the requested information—has passed, and other deadlines

for matters that similarly require the requested documents are rapidly

approaching as well. For example, the deadline to submit Mr. Jackson's

rebuttal expert reports is now scheduled for August 12, 2019. (See Ohio ECF

No. 2300.) The requested documents are important for his experts to review for

those reports as well, and, of course, for his hearing in September.

      In preparing his case, Mr. Jackson served three Rule 45 subpoenae

duces tecum on The Department. The first subpoena, served on May 29, 2019,

requested certain records related to the autopsies of Michael Samra (executed

by the State of Alabama on May 16, 2019), and Domineque Ray (executed

February 7, 2019), with a requested compliance date of June 14, 2019. (See

Exhibit 1.) Subpoena 1 also made clear that if Christopher Price was executed



      3 Some of the deadlines established in S.D. Ohio ECF No. 2206 have
been modified since that scheduling order issued. The scheduled date of the
hearing has remained unchanged, however, as has the deadline to file exhibits
in advance of the hearing.


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(he was ultimately executed on May 30, 2019), then another subpoena would

follow. The subpoena also expressly noted that compliance would be accepted

via electronic production if The Department's counsel was so amenable.

      In response, The Department sent a letter dated June 4, 2019, and a

second letter dated June 11, 2019, although neither letter was addressed or

sent directly to Mr. Jackson's counsel. In the first letter, The Department cited

Alabama state law and asserted that "Reports in the case regarding Michael

Samra are not currently public record because the cases remain under

investigation either per order from the District Attorney or due to the fact that

Alabama Department of Forensic Sciences has not completed its investigation."

(See Exhibit 4.) That letter made no mention of Mr. Ray, and no responsive

documents were produced.

      In the June 11, 2019 letter, The Department responded as to Mr. Ray,

again invoking Alabama state rules of civil procedure and Alabama state law,

asserting that "District Attorney Stephen M. Billy has notified the Alabama

Department of Forensic Sciences that this case remains under criminal

investigation." (See Exhibit 5.) Once again, The Department produced no

responsive documents.

      The second subpoena was served on The Department on June 6, 2019.

(See Exhibit 2.) That subpoena requested documents related to the autopsy of

Christopher Ray following his execution, and sought compliance by June 18,

2019. To date, and despite repeated efforts by the undersigned counsel to




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obtain compliance, The Department has not responded in any way to

Subpoena 2. Neither objections nor a motion to quash have been filed.

      The third subpoena was served on The Department on July 3, 2019,

seeking certain documents related to the autopsies of Ray, Samra, and Price,

and clarifying that Mr. Jackson was not making an open records request under

Alabama's open records law. (See Exhibit 3.) Due to counsel's effort to obtain

consent from counsel for The Department to accept service via electronic copy

in the June 24, 2019 email—a reply to which was never received—and then a

miscommunication, that subpoena was signed and dated on June 17, 2019,

but was not served until July 3, 2019. It requested a compliance date of July

10, 2019. While Mr. Jackson recognizes that truncated time period between

service and required response date might typically provide grounds to quash

the subpoena under Rule 45(d)(3)(A)(i), The Department has not moved to

quash on that basis. A d, in any event, The Department has now had

approximately 30 days since service, but still has not responded in any way to

Subpoena 3.

      In sum, then, The Department has responded to Subpoena 1 by way of

purported objections that were not served on Mr. Jackson's counsel, and which

expressly invoke Alabama state open records law as a basis to not produce the

requested documents, without addressing the fact that Mr. Jackson seeks the

documents in question via a federal court subpoena in federal question

litigation. He did not submit an open records request under Alabama law, nor

seek discovery in state-court litigation govemed by Alabama law. Additionally,



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the Department has neither complied with, nor objected to or otherwise sought

relief from, Subpoena 2 or Subpoena 3.


III.   Law and Argument

       A.     Legal standard

        Rule 26(b) permits a party to obtain "discovery regarding any

nonprivileged matter that is relevant to any party's claim or defense." "Under

the federal rules, relevancy is 'construed broadly to encompass any matter that

bears on, or that reasonably could lead to other matters that could bear on,

any issue that is or may be in the case.' Coker v. Duke & Co., 177 F.R.D. 682,

685 (M.D. Ala. 1998)(quoting Oppenheimer Fund, Inc., v. Sanders, 437 U.S.

340, 351 (1978)). As a whole, the federal discovery rules are to be construed

broadly and liberally. Herbert v. Lando, 441 U.S. 153, 177 (1979).

       The resisting party "has the burden to show the information does not

come within the broad scope of relevance as defined by Fed. R. Civ. P. 26(b) or

the potential harm outweighs the presumption in favor of broad disclosure."

Gilbert v. Rare Moon Media, LLC, No. 15-mc-217-CM, 2016 WL 141635, at *4

(D. Kan. Jan. 12, 2016)(internal quotation marks omitted). The "resisting

party must make a particular and specific demonstration of fact and cannot

rely on simple conclusory assertions" in objecting to discovery. Bruner v. Am.




       4 It "is well settled that the scope of discovery under a Rule 45 subpoena
is the same as that permitted under Rule 26." Miller v. MP Glob. Prods., LLC,
Civil Action No, 12-00747-KD-N, 2014 U.S. Dist. LEXIS 34008, at *5-6 (S.D.
Ala. Mar. 17, 2014)(listing cases).


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Honda Motor Co., Civil Action No. 1:15-00499-N, 2016 U.S. Dist. LEXIS 62810,

at *6 (S.D. Ala. May 12, 2016).

      Additionally,"Mailure to serve written objection to a subpoena within the

time specified by Fed. R. Civ. P. 45 typically waives any objections the party

may have. Patel v. Bhakta, No. 1:15-CV-562-MHC-ECS, 2015 U.S. Dist.

LEXIS 186408, at *6-7 (N.D. Ga. Apr. 29, 2015)(citing Ala. Educ. Ass'n v.

Bentley, No. CV-11-S-761-NE, 2013 U.S. Dist. LEXIS 8188, 2013 WL 246417,

at *4 (N.D. Ala. Jan. 22, 2013)(listing cases); Stringer v. Ryan, No. 08-21877-

CIV, 2009 U.S. Dist. LEXIS 101479, 2009 WL 3644360, at *1 (S.D. Fla. Oct.

30, 2009)("A non-party waives any objections if she does not timely object to

the subpoena."); Madeline L.L.C. v. Street, No. 09-80705-MC, 2009 U.S. Dist.

LEXIS 51700, 2009 WL 1563526 (S.D. Fla. June 3, 2009)(non-party's untimely

response to Rule 45 subpoena resulted in waiver of objections); 9A Wright &

Miller, Federal Practice & Procedure § 2463(3d ed. 1998)("[F]ailure to object

within the fourteen-day period usually results in waiver of the

contested issue.").

      Rule 45(d)(2)(B) requires a non-party to serve written objections on the

attorney designated in the subpoena, and the objections must be served before

the earlier of the time specified for compliance or 14 days after the subpoena is

served. If a non-party does not filed a motion to quash a Rule 45 subpoena,

and has otherwise waived any objections by failing to comply with Rule

45(d)(2)(B)'s requirements for serving written objections, then a motion to

compel responses to a subpoena duces tecum "is due to be granted on this



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basis alone." Bailey Indus. v. CLJP, Inc., 270 F.R.D. 662,668 (N.D. Fla. 2010)

(discussing analogous provisions of Rule 45 before 2013 amendment). Even if

served by way of a Rule 45 subpoena, when the non-party fails to timely object

to production requests, as a general rule, objections to those requests are

waived. Id. (citing In re United States, 864 F.2d 1153, 1156 (5th Cir. 1989));

see also Noel-Wagstaffe v. Metro. Cas. Ins. Co., No. 17-Civ-61039, 2017 U.S.

Dist. LEXIS 201610, at *3 (S.D. Fla. Dec. 7, 2017)("The failure to serve written

objections to a subpoena within the time specified by Rule [45(d)(2)(B)] typically

constitutes a waiver of such objections, as does failing to file a timely motion to

quash.")(citing Am. Fed.'n of Musicians ofthe United States & Canada v.

Skodam Films, LLC, 313 F.R.D. 39, 43(N.D. Tex. 2015)).


      B.    The documents sought are directly relevant to the
            constitutional claims Mr. Jackson is litigating.

      Although The Department does not object to Subpoena 1 on the grounds

of relevancy, or any of the other grounds enumerated in Rule 45(d)(3), the

documents Mr. Jackson seeks are directly relevant to his federal constitutional

claims nevertheless.

      Information subject to disclosure during discovery need not relate

directly to the merits of the claims or defenses of the parties. Rather, it may

also relate to any of the myriad of fact-oriented issues that arise in connection

with the litigation. Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351

(1978). Mr. Jackson more than satisfies that standard here. The requests

contained in each of his subpoenas have a connection to his Ohio litigation



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when a core focus of that Ohio litigation is the evidence regarding midazolam

and its use as an initiatory drug in a three-drug lethal injection protocol, and

Ohio's challenged lethal injection protocol is quite similar to Alabama's.

      Mr. Jackson argues that Ohio's three-drug lethal injection protocol is

sure or very likely to cause severe pain and needless suffering due, in part, to

its inclusion of an IV-injected overdose of midazolarn. That rnidazolam, Mr.

Jackson argues, will not protect him from the unconstitutionally severe pain

and suffering caused by the paralytic drug and potassium chloride in Ohio's

protocol. Furthermore, he argues that midazolam will cause severe pain and

needless suffering itself, because it causes the inmates to develop acute, non-

cardiogenic pulmonary edema. That edema causes the inmate's lungs to

rapidly fill with fluid, eliminating the ability to exchange gases, causing the

inmates to experience the painful sensations of suffocating to death.

      Mr. Jackson will present expert testimony from Dr. Mark Edgar at his

preliminary injunction hearing. Dr. Edgar has reviewed autopsy records from

approximately 28 cases of inmates executed using lethal injection protocols

that included midazolam. He has concluded in 24 of those 28 cases that the

inmate developed acute, non-cardiogenic pulmonary edema after being injected

intravenously with a high dose of midazolam. In re: Ohio Execution Protocol

Litigation, No. 2:11-cv-1016, 2019 WL 244488, at *16 (S.D. Ohio Jan.

14, 2019).

      Evidence to demonstrate midazolam's effects in a lethal injection protocol

is, accordingly, centrally relevant to Mr. Jackson's claims. It is generally



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known that Alabama uses an analogous lethal injection protocol, involving a

high dose of midazolam, followed by a paralytic drug, and then potassium

chloride, all injected by peripheral IV. Evidence from Alabama executions has

been presented in the Ohio case previously, including by way of expert

testimony from Dr. Edgar. Based in part on Dr. Edgar's expert testimony and

the evidence obtain from executions across virtually all jurisdictions that have

used midazolam in executions—including but not limited to Alabama—Mr.

Jackson argues he will suffer unconstitutional pain and suffering due, in part,

to Ohio's use of 500 mg of IV-injected midazolam in its execution protocol.

      Since the last hearing in the consolidated Ohio litigation, Alabama has

executed three more men with a lethal injection protocol believed to involve a

high dose of IV-injected midazolam as the initiatory drug: (1) Domineque Ray;

(2) Michael Samra; and (3) Christopher Price. Accordingly, Mr. Jackson

intends to present relevant evidence regarding those executions as well.

Documents related to the autopsies of each of those individuals is directly

relevant to Dr. Edgar's scientific assessment and testimony. It would also

inform Mr. Jackson's experts' assessment of the eyewitness descriptions of

those executions, which, in turn, helps to establish Mr. Jackson's case as well.

      Additionally, the State of Ohio has objected to evidence regarding

Alabama executions in previous hearings on behalf of other plaintiffs in the

consolidated Ohio litigation. To avoid any evidentiary disputes regarding the

autopsies from those three recent executions, and to otherwise obtain evidence

related to his constitutional claims, Mr. Jackson sought autopsy-related



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documents that are certified and attested as official government records and

documents (and thus self-authenticating). In these ways, and particularly in

light of the broad scope of relevancy under Rule 26(and, therefore, Rule 45),

the information that Mr. Jackson seeks by his subpoenas is directly relevant to

proving his federal constitutional claims.


      C.    This motion should be granted as to Subpoena 2 and Subpoena
            3 because The Department has waived any objections and has
            not filed a motion to quash.

      When a non-party recipient of a Rule 45 subpoena seeking production of

documents does not file a motion to quash or modify the subpoena, and does

not serve written objections on the attorney designated in the subpoena within

the allotted time period, then the non-party has waived any basis on which to

oppose production. See Patel v. Bhakta, No. 1:15-CV-562-MHC-ECS, 2015

U.S. Dist. LEXIS 186408, at *6-7 (N.D. Ga. Apr. 29, 2015)(listing cases). That

is precisely the circumstances here as to Mr. Jackson's Subpoena 2 and

Subpoena 3. The Department has not filed a motion to quash either subpoena.

Nor has The Department served any timely, written objections on Mr. Jackson's

counsel. Accordingly, The Department "has waived any objection te Mr.

Jackson's requests for documents in Subpoenas 1 862, and "this motion to

compel responses" to both Subpoenas should "be granted on this basis alone."

Bailey Indus. v. CLJP, Inc., 270 F.R.D. 662,668 (N.D. Fla. 2010); see also Noel-

Wagstaffe, 2017 U.S. Dist. LEXIS 201610, *3-4 (granting motion to compel

production of documents sought by Rule 45 subpoena when non-parties "have




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had ample time to review the subpoena and formulate their responses" and yet

"clearly failed to do so with either a production of documents or objections").


      D.    This motion should be granted as to Subpoena 1 because The
            Department filed no motion to quash, failed to properly raised
            written objections under Rule 45(d)(2)(B), and the single
            objection is unavailing.

      This Court should likewise grant this motion as to Subpoena 1.

            1.     The Department has waived any objection to the
                   subpoena by failing to properly serve timely written
                   objections under Ruel 45(d)(2)(B).

      The Department has waived any objections to producing the requested

documents in Subpoena 1. It filed no motion to quash or modify the subpoena.

And, although The Department ostensibly produced a single written objection,

that objection was not compliant with Rule 45(d)(2)(B), and was therefore

insufficient. Specifically, that Rule requires the subpoena duces tecum

recipient to "serve on the party or attorney designated in the subpoena a

written objection," and service must be made "before the earlier of the time

specified for compliance or 14 days after the subpoena is served." Here, The

Department was advised of Mr. Jackson's counsel's address in the subpoena.

The subpoena provided that The Department could produce the responsive

documents at the Office of the Federal Public Defender for the Middle District

of Alabama, in Montgomery, Alabama, so as to comply with Rule 45(c)(2)(A)'s

geographic limitations. But as clearly noted on the bottom of the subpoena,

Mr. Jackson's counsel's address is 10 W. Broad Street, Suite 1020, Columbus,

Ohio. The subpoena clearly issued out of the federal district court in the



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Southern District of Ohio. And the subpoena also provided counsel's email

address. Yet, the written objection was not addressed to or served on Mr.

Jackson's counsel at any time. Instead, it was addressed and sent to the Office

of the Federal Public Defender for the Middle District of Alabama. As such, The

Department failed to timely and properly serve Mr. Jackson's counsel with

written objections as required under Rule 45(d)(2)(B) and, consequently, waived

any objections. In the absence of properly served, written objections or a

motion to quash, The Department waived any objection to producing the

requested documents. This motion should be granted "on that basis alone."

Bailey Indus., 270 F.R.D. at 668; see also Noel-Wagstaffe, 2017 U.S. Dist.

LEXIS 201610, *3-4.

            2.    The Department's single objection should be overruled.

      Moreover, even if The Departrnent complied with Rule 45(d)(2)(B) and

provided proper written notice of its single objection, that objection should be

overruled. The Department objects to production of the requested documents

on the basis that they are not public records subject to disclosure upon request

under Alabama law, citing an Alabama Supreme Court opinion, an Opinion

from the Alabama Attorney General, and a provision of the Code of Alabama.

      But the instant matter does not arise from a case filed in Alabama state

court involving state law issues. Rather, the claim in question here is a claim

under the Eighth Amendment of the federal constitution, asserted in an action

filed in federal court under 42 U.S.C. § 1983. Accordingly, federal law governs

this discovery dispute, not Alabama state law. Hancock v. Hobbs, 967 F.2d



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462, 466-67 (11th Cir. 1992). "'State law is of very little relevance to discovery

in a federal action.' Ward v. Estaleiro Itajai S/A, 541 F. Supp. 2d 1344, 1348

(S.D. Fla. 2008)(quoting 8 Wright, Miller 86 Marcus, Federal Practice and

Procedure: Civil 2d § 2005 (1994)). Aside from two situations not applicable

here, "'it is wholly settled that discovery in a federal court is governed only by

[the Federal Rules of Civil Procedure] and that state discovery practices are

irrelevant.' Id.(emphasis in Ward). Rather, federal law applies here, and the

broad discovery provisions of the Federal Rules of Civil Procedure apply, not

Alabama's narrowed public records laws.

      A recent case from this Court's sister district court, Otto v. Blair, is

almost directly on point. Otto v. Blair, No. 5:13-cv-311-0c-10PRL, 2014 U.S.

Dist. LEXIS 192586, at *13-18 (M.D. Fla. Mar. 20, 2014). Like in this case, the

movant in Otto sought discovery relevant to his federal constitutional claims—

specifically, information containing the addresses, social security numbers and

birth dates of certain law enforcement personnel. Id. at *13-15. And, like in

this case, the resisting party objected on the basis that the requested discovery

was exempt from the state's public records laws. Id. But the court flatly

rejected that objection with reasoning that is equally applicable here.

      First, the court explained that "federal law governs this discovery

dispute." Id. at *15-16. For that proposition, the court relied on "Hancock v.

Hobbs, 967 F.2d 462, 466-67 (11th Cir. 1992)(holding that federal privilege

law applies in a civil proceeding in which the court is proceeding based on

federal question jurisdiction)" a d "Dukes v. Miami-Dade Cnty., No. 05-22665-



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CIV, 2007 U.S. Dist. LEXIS 83439, 2007 WL 3342793, at *1 (S.D. Fla. Nov. 9,

2007)(granting motion to compel and applying Hancock to find that [state

public records law] did not prohibit the disclosure of photographs of police

officers during discovery in a case proceeding based on federal question

jurisdiction)." Id. Federal law likewise governs this discovery dispute in a civil

case being litigated in federal court under federal question jurisdiction. Id.;

Hancock, 967 F.3d at 466-67.

      Next, the court observed that the movant "has sought to obtain

information from [the resisting party] through a discovery request" under the

Federal Rules of Civil Procedure, "not through a public records request." Id. at

*17. The same is true here, when Mr. Jackson sought the requested

documents via validly issued, properly served Rule 45 subpoenas, not as a

public records request.

      The Otto court then reasoned that whether a state public records law

"might prevent Plaintiff from obtaining the sought after information if Plaintiff

pursued a public records request is inapposite," because a state public records

law "does not override discovery that is permissible under the Federal Rules of

Civil Procedure." Id. (citing Reiser v. Wachovia Corp., No. 6:06-cv-795-Orl-

19KRS, 2007 U.S. Dist. LEXIS 42504, at *2-3 (M.D. Fla. June 12, 2007)).

Once again, the same applies directly in this case; whether Alabama's public

records laws might place the requested documents off limits if Mr. Jackson had

sought them via a public records request is irrelevant, because that state law




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does not override Mr. Jackson's ability to obtain discovery in federal question

litigation in United States District Court via a Rule 45 subpoena.

        Ultimately, the Otto court noted that the resisting party "presented no

other objections" to the discovery requests—also directly analogous here, where

The Department raised only a single objection—and concluded that any other

objections were waived and the motion to compel granted. Id. The same

waiver conclusion should also result here. And, finally, like in Otto, this Court

should grant the motion to compel as to Subpoena 1.


Ii~.    Conclusion

        In light of The Department's waiver of any objection to Subpoena 2 and

Subpoena 3, and the arguments asserted above as to Subpoena 1, along with

full consideration of the significant prejudice that inures to Mr. Jackson with

each passing day without the requested documents for his experts'

consideration, Mr. Jackson respectfully requests this Court order The

Department to produce the documents requested in Subpoena 1, Subpoena 2,

and Subpoena 3 within no more than 5 calendar days. Compare VanLiner Ins.

Co. v. ABF Freight Sys., No. 5:11-cv-122-0c-10TBS, 2011 U.S. Dist. LEXIS

114401, at *4 (M.D. Fla. Oct. 4, 2011)(ordering full compliance with requests

for production within ten days, and noting "there is no reason why the

[recipient] should require any additional time to fully respond to the . . .

requests for production").

        Additionally, Mr. Jackson respectfully requests this Court consider and

decide this motion on an expedited schedule, in light of the impending


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injunctive relief proceedings and Mr. Jackson's looming execution date. He has

been seeking this information starting in May, and has tried to be

accommodating to The Department, to no avail.




                                           Respectfully submitted,




                                           /s/ Allen L. Bohnert
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                         CERTIFICATE OF SERVICE

      I hereby certify that on August 1, 2019, a hard copy of the foregoing

Plaintiff Cleveland Jackson's Motion to Compel Production of Documents

in Response to Subpoena Issued to Non-Party the Alabama Department of

Forensic Sciences was filed with the Clerk of the United States District Court

for the Middle District of Alabama. A hard copy of the same will be mailed by

regular mail to Attorney Marc Bass at the Alabama Department of Forensic

Sciences Legal Counsel Division at 1051 Wire Road, Auburn, Alabama, 36832.

An electronic copy of the same will be sent to Mr. Bass by email attachment.




                                    /§/ Allen L. Bohnert
                                    Trial Attorney for Plain ff Jac son




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